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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                    ROANOKE DIVISION

 VIRGINIA TRANSFORMER CORP.,                             )
                                                         )
                 Plaintiff/Counter-defendant,            )
                                                         )
 v.                                                      )      Civil Action No.: 7:18-cv-00143
                                                         )
 ALEXANDER EBBERT,                                       )      By: Elizabeth K. Dillon
                                                         )          United States District Judge
                 Defendant/Counter-plaintiff.            )
                                                         )
                                                         )

           ORDER REMANDING CASE TO ROANOKE CITY CIRCUIT COURT

        On July 12, 2019, the court issued an order directing defendant/counter-plaintiff Alexander

Ebbert to show cause why this case should not be remanded to the Roanoke City Circuit Court.

(Dkt. No. 44.) In response, Ebbert concedes that the court lacks subject matter jurisdiction, and that

Ebbert’s removal under 28 U.S.C. § 1441(a) based on his counterclaims was improper. See Home

Depot U.S.A., Inc. v. Jackson, 139 S. Ct. 1743, 1748 (2019) (“Section 1441(a) thus does not permit

removal based on counterclaims at all, as a counterclaim is irrelevant to whether the district court

had ‘original jurisdiction’ over the civil action.”).

        Nonetheless, Ebbert requests that this court retain jurisdiction under “equitable

considerations.” Without jurisdiction, the court lacks authority to act in equity. See Ellenburg v.

Spartan Motors Chassis, Inc., 519 F.3d 192, 196 (4th Cir. 2008) (“In the case where remand is

based on lack of subject matter jurisdiction, the remand order may be entered at any time, for

jurisdiction goes to the very power of the court to act.”). In the alternative, Ebbert requests that the

court enter an order that would allow the parties to file pleadings such that the court may gain

subject matter jurisdiction. Ebbert objects to the idea of “two-track” litigation in state and federal

court. Yet just as Ebbert is entitled to a federal forum for his federal claims, Virginia Transformer
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Corp. may avoid federal jurisdiction by relying exclusively on state law. See Caterpillar Inc. v.

Williams, 482 U.S. 386, 392 (1987) (explaining that the “well-pleaded complaint rule . . . makes the

plaintiff the master of the claim; he or she may avoid federal jurisdiction by exclusive reliance on

state law”). Ebbert can choose to avoid litigation on two tracks by pursuing his federal claims as

counterclaims in the state court action. In any event, concerns about judicial economy and

efficiency must be set aside in the absence of subject matter jurisdiction. See Am. Canoe Ass’n v.

Murphy Farms, Inc., 326 F.3d 505, 515 (4th Cir. 2003) (explaining that while the “ultimate

responsibility of the federal courts . . . to reach the correct judgment under law . . . may be tempered

at times by concerns of finality and judicial economy, nowhere is it greater and more unflagging

than in the context of subject matter jurisdiction issues, which call into question the very legitimacy

of a court’s adjudicatory authority”).

       Based on the foregoing, this matter is REMANDED to Roanoke City Circuit Court. All

pending motions (Dkt. Nos. 33, 40, 42, and 47) are DISMISSED as moot. The clerk is directed to

STRIKE this case from the active docket of the court and to send copies of this order to all counsel

of record.

       Entered: December 2, 2019.




                                              /s/ Elizabeth K. Dillon
                                              Elizabeth K. Dillon
                                              United States District Judge




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